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                  EXHIBIT 1
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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

WESTSIDE VENTURES, LTD.,                        §
                                                §
                    Plaintiff,                  §
                                                §
vs.                                             §      C.A. No.: ___________________
                                                §
DWPW GRAND PARKWAY, LLC and                     §
HOUSTON COMMUNITY COLLEGE                       §
SYSTEM DISTRICT,                                §
                                                §
              Defendants.                       §

                                        INDEX

        Exhibit 1   This index of items filed with the Notice of Removal;

        Exhibit 2   Copies of all pleadings that assert causes of action and all answers to
                    such pleadings;

        Exhibit 3   A copy of the docket sheet from the County Court at Law Number 4
                    of Harris County; and

        Exhibit 4   A list of counsel of record, including the addresses, telephone
                    numbers, and parties represented by the same.
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